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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO.

  RALSTON S. BROWN, JR., and
  SHEMAE S. JOHNSON,

        Plaintiffs,

  v.

  ER SOLUTIONS, INC.

       Defendant.
  _________________________________________/

                                    COMPLAINT
                                   JURY DEMAND

        1.     Plaintiffs allege violation of the Fair Debt Collection Practices Act, 15

  U.S.C. §1692 et seq. (“FDCPA”) and the Florida Consumer Collection Practices

  Act, Fla. Stat. §559.55 et seq. (“FCCPA”).

                           JURISDICTION AND VENUE

        2.     This Court has jurisdiction under 28 U.S.C. §§1331, 1337, 1367 and

  15 U.S.C. §1692k. Venue in this District is proper because Plaintiffs reside here

  and Defendant placed telephone calls into this District.

                                       PARTIES

        3.     Plaintiff, RALSTON S. BROWN, JR., is a natural person, and citizen

  of the State of Florida, residing in Palm Beach County, Florida.
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         4.     Plaintiff, SHEMAE S. JOHNSON, is a natural person, and citizen of

  the State of Florida, residing in Palm Beach County, Florida.

         5.     At all times material to this complaint, the Plaintiffs were married to

  each other.

         6.     Defendant, ER SOLUTIONS, INC., is a professional corporation and

  citizen of the State of Washington with its principal place of business at 800 SW

  39th Street, Renton, Washington 98055.

         7.     Defendant regularly uses the mail and telephone in a business the

  principal purpose of which is the collection of debts.

         8.     Defendant regularly collects or attempts to collect debts for other

  parties.

         9.     Defendant is a “debt collector” as defined in the FDCPA.

         10.    Defendant was acting as a debt collector with respect to the collection

  of Plaintiffs’ alleged debt.

                                 FACTUAL ALLEGATIONS

         11.    Defendant sought to collect from Plaintiffs an alleged debt arising

  from transactions incurred for personal, family or household purposes.

         12.    Defendant left the following messages on Plaintiffs’ voice mail on

  their residential telephone or about the dates stated:

         September 19, 2008



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        Hello. This message is for Ralston Brown and my number is 800-622-8034.
        If you are not the person I asked for, please hang up or disconnect. If you are
        the right person, then please continue to listen. There will now be a short
        pause to allow you to disconnect.

        By continuing to listen to this message you acknowledge you are Ralston
        Brown. This is Kelly Smith from ER Solutions. I am calling because I have
        an attractive settlement offer for you; however, time is limited. So it is
        important that you contact us. Please contact me at 800-622-8034. Thank
        you.

        September 20, 2008
        Hello. This message is for Ralston Brown and my number is 800-622-8034.
        If you are not the person I asked for, please hang up or disconnect. If you are
        the right person, then please continue to listen. There will now be a short
        pause to allow you to disconnect.

        By continuing to listen to this message you acknowledge you are Ralston
        Brown. This is Kelly Smith from ER Solutions. I am calling because I have
        an attractive settlement offer for you; however, time is limited, so it is
        important that you contact us. Please contact me at 800-622-8034. Thank
        you.

        September 22, 2008
        Hello. This message is for Ralston Brown and my number is 800-622-8034.
        If you are not the person I asked for, please hang up or disconnect. If you are
        the right person, then please continue to listen. There will now be a short
        pause to allow you to disconnect.

        By continuing to listen to listen to this message you acknowledge you are
        Ralston Brown. This is Kelly Smith from ER Solutions. I am calling because
        I have an attractive settlement offer for you; however, time is limited, so it is
        important that you contact us. Please contact me at 800-622-8034. Thank
        you.

        September 23, 2008
        Hello. This message is for Ralston Brown and my number is 800-622-8034.
        If you are not the person I asked for, please hang up or disconnect. If you
        are the right person, then please continue to listen. There will be a short
        pause to allow you to disconnect.

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        By continuing to listen to this message, you acknowledge that you are
        Ralston Brown. This is Kelly Smith from ER Solutions. This is an attempt
        to collect a debt and any information obtained will be used for that purpose.
        Please contact me at 800-622-8034. Thank you.

        September 24, 2008
        Hello. This message is for. And my number is 800-622-8034. If you are not
        the person I asked for, please hang up or disconnect. If you are the right
        person, then please continue to listen. There will now be a short pause to
        allow you to disconnect.

        By continuing to listen to this message you acknowledge you are Ralston
        Brown. This is Kelly Smith from ER Solutions. I'm calling because I have
        an important offer for you, but you must act now. Please call us back at
        your earliest opportunity. Our number is 800-622-8034. Thank you.

        September 25, 2008
        Hello. This message is for Ralston. Hello. This message is for Ralston.
        Hello. This message is for Ralston. Hello. This message is for Ralston
        Brown and my number is 800-622-8034. If you are not the person I asked
        for, please hang up or disconnect. If you are the right person, then please
        continue to listen. There will now be a short pause to allow you to
        disconnect.

        By continuing to listen to this message you acknowledge you are Ralston
        Brown. This is Kelly Smith from ER Solutions. This is an attempt to collect
        a debt, and any information obtained will be used for that purpose. Please
        contact me at 800-622-8034. Thank you.

        September 26, 2008
        Hello. This message is for Ralston Brown and my number is 800-622-8034.
        If you are not the person I asked for, please hang up or disconnect. If you are
        the right person, then please continue to listen. There will now be a short
        pause to allow you to disconnect.

        By continuing to listen to this message you acknowledge you are Ralston
        Brown. This is Kelly Smith from ER Solutions. This is an attempt to collect
        a debt, and any information obtained will be used for that purpose. Please
        contact me at 800-622-8034. Thank you.

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        September 27, 2008
        Hello. This message is for Ralston Brown and my number is 800-622-8034.
        If you are not the person I asked for, please hang up or disconnect. If you are
        the right person, then please continue to listen. There will now be a short
        pause to allow you to disconnect.

        By continuing to listen to this message you acknowledge you are Ralston
        Brown. This is Kelly Smith from ER Solutions. This is an attempt to collect
        a debt, and any information obtained will be used for that purpose. Please
        contact me at 800-622-8034. Thank you.

        September 28, 2008
        Hello. This message is for Ralston Brown and my number is 800-622-8034.
        If you are not the person I asked for, please hang up or disconnect. If you are
        the right person, then please continue to listen. There will now be a short
        pause to allow you to disconnect.

        By continuing to listen to this message you acknowledge you are Ralston
        Brown. This is Kelly Smith from ER Solutions. I'm calling because I have
        an attractive settlement offer for you; however, time is limited, so it is
        important that you contact us. Please contact me at 800-622-8034. Thank
        you.

        September 29, 2008
        Hello. This message is for Ralston Brown and my number is 800-622-8034.
        If you are not the person I asked for, please hang up or disconnect. If you are
        the right person, then please continue to listen. There will now be a short
        pause to allow you to disconnect.

        By continuing to listen to this message you acknowledge you are Ralston
        Brown. This is Kelly Smith from ER Solutions. I'm calling because I have
        an important offer for you, but you must act now. Please call us back at your
        earliest opportunity. Our number is 800-622-8034. Thank you.

        September 30, 2008
        Hello. This message is for Ralston Brown and my number is 800-622-8034.
        If you are not the person I asked for, please hang up or disconnect. If you are
        the right person, then please continue to listen. There will now be a short
        pause to allow you to disconnect.

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        By continuing to listen to this message you acknowledge you are Ralston
        Brown. This is Kelly Smith from ER Solutions. I'm calling because I have
        an attractive settlement offer for you; however, time is limited, so it is
        important that you contact us. Please contact me at 800-622-8034. Thank
        you.

        October 1, 2008
        Hello. This message is for Ralston Brown and my number is 800-622-8034.
        If you are not the person I asked for, please hang up or disconnect. If you are
        the right person, then please continue to listen. There will now be a short
        pause to allow you to disconnect.

        By continuing to listen to this message you acknowledge you are Ralston
        Brown. This is Kelly Smith from ER Solutions. This is an attempt to collect
        a debt, and any information obtained will be used for that purpose. Please
        contact me at 800-622-8034. Thank you.

        August 14, 2009
        representative. It’s important that we speak.

        August 17, 2009
        representative. It’s important that we speak with you.

        August 21, 2009
        representative. It’s important that we speak with you.

        August 25, 2009
        Representative. It’s important that we speak with you. We will be with you
        shortly. Thank you.

        August 26, 2009
        Representative. It’s important that we speak with you. We will be with you
        shortly. Thank you.

        November 19, 2009
        Pre-Recorded Message: Representative. It’s important that we speak with
        you. We’ll be with you shortly. Thank you.
        Human caller: Hello? Hello?



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        December 18, 2009
        Pre-Recorded Message: Representative. It’s important that we speak with
        you. We’ll be with you.
        Human caller: Hello? Hello?

        13.    Defendant left similar or identical messages on other occasions.

  (Collectively, “the telephone messages”).

        14.    The messages are “communications” as defined by 15 U.S.C.

  §1692a(2). See Berg v. Merchs. Ass'n Collection Div., Case No. 08-60660-Civ-

  Dimitrouleas/Rosenbaum, 2008 U.S. Dist. LEXIS 94023 (S.D. Fla. Oct. 31, 2008).

        15.    Defendant failed to inform Plaintiffs in the messages that the

  communication was from a debt collector and failed to disclose the purpose of

  Defendant’s messages and failed to disclose Defendant’s name.

                             COUNT I
          FAILURE TO DISCLOSE STATUS AS DEBT COLLECTOR

        16.    Plaintiffs incorporate Paragraphs 1 through 15.

        17.    Defendant failed to disclose in the telephone messages that it is a debt

  collector in violation of 15 U.S.C. §1692e(11). See Foti v. NCO Fin. Sys., 424 F.

  Supp. 2d 643, 646 (D.N.Y. 2006) and Belin v. Litton Loan Servicing, 2006 U.S.

  Dist. LEXIS 47953 (M. D. Fla. 2006) and Leyse v. Corporate Collection Servs.,

  2006 U.S. Dist. LEXIS 67719 (D.N.Y. 2006).

        WHEREFORE, Plaintiffs request that the Court enter judgment in favor of

  Plaintiffs and against Defendant for:



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               a.    Damages;

               b.    Attorney’s fees, litigation expenses and costs of suit; and

               c.    Such other or further relief as the Court deems proper.

                         COUNT II
     FAILURE TO MAKE MEANINGFUL DISCLOSURE OF IDENTITY

        18.    Plaintiffs incorporate Paragraphs 1 through 15.

        19.    Defendant placed telephone calls to Plaintiffs without making

  meaningful disclosure of its identity when it failed to disclose its name and the

  purpose of Defendant’s communication in the telephone messages in violation of

  15 U.S.C §1692d(6). See Valencia v The Affiliated Group, Inc., Case No. 07-

  61381-Civ-Marra/Johnson, 2008 U. S. Dist. LEXIS 73008, (S.D.Fla., September

  23, 2008); Wright v. Credit Bureau of Georgia, Inc., 548 F. Supp. 591, 593 (D. Ga.

  1982); and Hosseinzadeh v. M.R.S. Assocs., 387 F. Supp. 2d 1104 (D. Cal. 2005).

        WHEREFORE, Plaintiffs request that the Court enter judgment in favor of

  Plaintiffs and against Defendant for:

               a.    Damages;

               b.    Attorney’s fees, litigation expenses and costs of suit; and

               c.    Such other or further relief as the Court deems proper.

                          COUNT III
      ILLEGAL COLLECTION TECHNIQUES IN VIOLATION OF THE
         FLORIDA CONSUMER COLLECTION PRACTICES ACT

        20.    Plaintiffs incorporate Paragraphs 1 through 15.

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        21.     Defendant asserted the right to collect a debt by leaving repeated

  telephone messages for Plaintiffs without disclosing its name and that it is a debt

  collector and the purpose of its communications when Defendant knew it did not

  have a legal right to use such collection techniques in violation of Fla. Stat.

  §559.72(9).

        WHEREFORE, Plaintiffs request that the Court enter judgment in favor of

  Plaintiffs and against Defendant for:

                a.    Damages;

                b.    Attorney’s fees, litigation expenses and costs of suit;

                c.    declaring that Defendant’s practices violate the FCCPA;

                d.    permanently injoining Defendant from engaging in the

                complained of practices; and

                e.    Such other or further relief as the Court deems proper.

                          COUNT IV
       HARASSMENT IN VIOLATION OF THE FLORIDA CONSUMER
                 COLLECTION PRACTICES ACT

        22.     Plaintiffs incorporate Paragraphs 1 through 15.

        23.     By failing to disclose its name, that it is a debt collector and the

  purpose of its communication when Defendant knew the disclosures were required

  by the FDCPA, Defendant willfully engaged in conduct the natural consequence of

  which is to harass in violation of Fla. Stat. §559.72(7).



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         WHEREFORE, Plaintiffs requests that the Court enter judgment in favor of

   Plaintiffs and against Defendant for:

                a.    Damages;

                b.    Attorney’s fees, litigation expenses and costs of suit;

                c.    declaring that Defendant’s practices violate the FCCPA;

                d.    permanently injoining Defendant from engaging in the

                complained of practices; and

                e.    Such other or further relief as the Court deems proper.

                                        JURY DEMAND

          Plaintiffs demand trial by jury.

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